            Case 2:11-cr-00026-WFN        ECF No. 89        filed 11/05/20      PageID.264 Page 1 of 3
 PROB 12C                                                                            Report Date: November 5, 2020
(6/16)

                                       United States District Court                                         FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON

                                                       for the
                                                                                                   Nov 05, 2020
                                        Eastern District of Washington                                 SEAN F. MCAVOY, CLERK



                    Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Dan Elliott Ochs                          Case Number: 0980 2:11CR00026-WFN-1
 Address of Offender:                                         Spokane, Washington 99202
 Name of Sentencing Judicial Officer: The Honorable Wm. Fremming Nielsen, Senior U.S. District Judge
 Date of Original Sentence: October 26, 2011
 Original Offense:        Possession of Child Pornography, 18 U.S.C. § 2252A(a)(5)(B)
 Original Sentence:       Prison - 120 months;               Type of Supervision: Supervised Release
                          TSR - Life


 Asst. U.S. Attorney:     James A. Goeke                     Date Supervision Commenced: July 19, 2019
 Defense Attorney:        Federal Defenders Office           Date Supervision Expires: Life


                                          PETITIONING THE COURT

To incorporate the violation(s) contained in this petition in future proceedings with the violation(s) previously
reported to the Court on 10/9/2020, and 10/23/2020.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

              5         Special Condition #26: You shall be prohibited from possessing or manufacturing any
                        material, including videos, magazines, photographs, computer-generated depictions, or any
                        other media that depict sexually explicit conduct involving children or adults, as defined at
                        18 U.S.C. § 2256(2). Neither shall you enter any establishment involved in the sex industry,
                        including but not limited to adult bookstores, massage parlors, and strip clubs. You shall not
                        utilize any sex-related adult telephone numbers. The supervising officer is authorized to
                        monitor compliance in this area by obtaining relative records including but not limited to
                        telephone, Internet, and credit cards.

                        Supporting Evidence: The offender is alleged to have violated special condition number
                        26, by accessing sexually explicit material on October 24 and 31, 2020.

                        On July 19, 2019, the offender reported to the U.S. Probation Office for his scheduled intake
                        appointment. At that time, his conditions of supervision were reviewed and he signed said
                        conditions acknowledging he understood his requirements. Specifically, he was made aware
                        by his supervising officer that he was prohibited from accessing sexually explicit material.
      Case 2:11-cr-00026-WFN       ECF No. 89        filed 11/05/20      PageID.265 Page 2 of 3
Prob12C
Re: Ochs, Dan Elliott
November 5, 2020
Page 2

                 On October 29, 2020, the undersigned officer reviewed the offender’s weekly Covenant Eyes
                 report, which identified one concerning screen shot viewed on October 24, 2020. Upon
                 further inspection, the probation officer discovered the image depicted a female exposing
                 one of her bare breasts.

                 On October 29, 2020, the probation officer contacted Mr. Ochs to address the above-
                 referenced image, at which time he admitted to viewing the image on a dating website. He
                 further stated he has decided to take the “easy road” because he is confident he will be
                 returning to prison due to his pending violations.

                 On November 4, 2020, the undersigned officer reviewed the offender’s weekly Covenant
                 Eyes report, which identified several concerning screen shots viewed on October 31, 2020.
                 Upon reviewing the images, the probation officer identified six images that depicted sexually
                 explicit material. Specifically, three images depicted nude females, and three additional
                 images depicted a female’s bare breasts.

                 The aforementioned Covenant Eyes report also included several random screen shots taken
                 from Mr. Ochs’ phone. Upon further review, the probation officer identified one additional
                 image that was sexually explicit. Specifically, on October 31, 2020, the offender viewed an
                 image of a female’s bare breasts.

                 On November 4, 2020, the probation officer contacted Mr. Ochs to address the
                 aforementioned images. He admitted to viewing the images; however, he explained those
                 images had been previously saved on his phone. He stated he accessed the images because
                 he was in the process of deleting them from his device. He further indicated he is trying to
                 “get on the right track.”


          6      Special Condition #21: You shall participate and successfully complete an approved state-
                 certified sex offender treatment program. You shall follow all lifestyle restrictions and
                 treatment requirements of the program. You shall participate in special testing in the form
                 of polygraphs, in order to measure compliance with the treatment program requirements.
                 You must allow reciprocal release of information between the supervising officer and the
                 treatment provider. You shall pay for treatment and testing according to your ability.

                 Supporting Evidence: The offender is alleged to have violated special condition number
                 21, by violating his sex offender treatment contract on October 24 and 31, 2020.

                 On July 19, 2019, the offender reported to the U.S. Probation Office for his scheduled intake
                 appointment. At that time, his conditions of supervision were reviewed and he signed said
                 conditions acknowledging he understood his requirements. Specifically, he was made aware
                 by his supervising officer that he must abide by the requirements of his sex offender
                 treatment program.

                 As previously noted, Mr. Ochs admitted to viewing sexually explicit images on October 24
                 and 31, 2020. On November 4, 2020, the undersigned contacted his sex offender therapist,
                 Priscilla Hannon, who advised the above-referenced behavior constitutes a violation of his
                 treatment contract.
Case 2:11-cr-00026-WFN   ECF No. 89   filed 11/05/20   PageID.266 Page 3 of 3
